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MUSCARELLA, BOCHET,
EDWARDS & D’ALESSANDRO, P.C.
10-04 River Road
Fair Lawn, New Jersey 07410
(201)796-3100
Counsel to Trustee
BAE7510
                                    UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF NEW JERSEY
                                    NEWARK VICINAGE
In the Matter of:                   :
                                    :    Chapter 7
HENRY BELL,                         :
                                    :    Case No. 10-36159-NLW
                        Debtor.     :
____________________________________:    Hearing date: 6/6/2011 @ 9:00 a.m.


                      NOTICE OF MOTION TO DISMISS PETITION FOR
                   FAILURE OF DEBTOR TO COOPERATE WITH TRUSTEE


                Oral Argument: Waived Unless Opposition Papers are Filed and Served.


        Trustee, Barbara A. Edwards, has filed papers with the Court to dismiss the within petition for
failure of the debtor to cooperate with the Trustee in connection with the above matter. Your rights may
be affected. You should read these papers carefully and discuss them with your lawyer, if you have one
on this case. (If you do not have a lawyer, you may wish to consult one.)

       If you do not wish the Court to enter an Order dismissing the within petition, or if you want the
Court to consider your views on the Motion, then within seven (7) days prior to the scheduled hearing,
you or your lawyer must:

       File with the Court a written response or answer, explaining your position, and mail a copy to:

               Barbara A. Edwards, Trustee
               Muscarella, Bochet, Edwards & D’Alessandro, P.C.
               10-04 River Road
               Fair Lawn, New Jersey 07410

       If you mail your response to the Court for filing, you must mail it early enough so the Court will
receive it by the date stated above.
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       HEARING SCHEDULED TO BE HELD BEFORE:

       Honorable:     Novalyn L. Winfield
       Date:          June 6, 2011
       Time:          9:00 a.m.
       Place:         King Federal Building, 50 Walnut Street, Newark, NJ

        Pursuant to D.N.J. LBR 9013-1(d) et seq, if you wish to contest the within Motion you must file,
with the Office of the Clerk of the Bankruptcy Court, responding papers stating with particularly the
basis of your opposition to the Motion. A copy of the proposed Order which is sought is enclosed with
this Motion.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose the
relief sought in the Motion and may enter an Order dismissing the within petition.

        Statement of Non-Necessity of Brief: The movant certifies pursuant to D.N.J. LBR 9013-2, that
the within Motion involves common questions of law and fact and does not involve complex or novel
issues such as to require the submission of a legal brief.



                                                      /s/ Barbara A. Edwards
                                                    BARBARA A. EDWARDS, Trustee

Dated: April 28, 2011
